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                  EXHIBIT 1
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AO 88B (Rev. 12/13) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                           for the
                                                            Southern District of New York
      Government of the United States Virgin Islands
                                                                              )
                                 Plaintiff                                    )
                                   v.                                         )       Civil Action No.           1:22-cv-10904-JSR

                 JPMorgan Chase Bank, N.A.                                    )
                                                                              )
                               Defendant                                      )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION
To:                                                                       ELON MUSK

                                                     (Name of person to whom this subpoena is directed)

    ✔’ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: See attached Exhibit A.


   Place: Hoffman Reporting & Video Service                                             Date and Time:
          206 E. Locust Street
          San Antonio, Texas 78212                                                                            05/12/2023 5:00 pm

     ’ Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or other
property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party may
inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

   Place:                                                                               Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.
Date:         04/28/2023

                                   CLERK OF COURT
                                                                                            OR
                                                                                                                        /s/Linda Singer
                                             Signature of Clerk or Deputy Clerk                                       Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party) _____________________
Plaintiff, the Government of the United States Virgin Islands            , who issues or requests this subpoena, are:
Linda Singer, Motley Rice LLC, 401 9th Street NW, Suite 630, Washington, DC 20004, (202) 386-9626,
lsinger@motleyrice.com

                                 Notice to the person who issues or requests this subpoena
A notice and a copy of the subpoena must be served on each party in this case before it is served on the person to whom
it is directed. Fed. R. Civ. P. 45(a)(4).
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                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

             I received this subpoena for (name of individual and title, if any)
 on (date)                                .

             1J I served the subpoena by delivering a copy to the named person as follows:


                                                                                            on (date)                                        ; or

             1J I returned the subpoena unexecuted because:
                                                                                                                                                           .

              Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
             tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
             $                                      .

 My fees are $                                      for travel and $                              for services, for a total of $                    0.00   .


             I declare under penalty of perjury that this information is true.


Date:
                                                                                                    Server’s signature



                                                                                                  Printed name and title




                                                                                                      Server’s address

Additional information regarding attempted service, etc.:
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                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                             (ii) disclosing an unretained expert’s opinion or information that does
                                                                                 not describe specific occurrences in dispute and results from the expert’s
(1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                  (C) Specifying Conditions as an Alternative. In the circumstances
  (A) within 100 miles of where the person resides, is employed,                 described in Rule 45(d)(3)(B), the court may, instead of quashing or
or regularly transacts business in person; or                                    modifying a subpoena, order appearance or production under
  (B) within the state where the person resides, is employed, or                 specified conditions if the serving party:
regularly transacts business in person, if the person                                   (i) shows a substantial need for the testimony or material that
     (i) is a party or a party’s officer; or                                     cannot be otherwise met without undue hardship; and
     (ii) is commanded to attend a trial and would not incur                            (ii) ensures that the subpoenaed person will be reasonably
substantial expense.                                                             compensated.

(2) For Other Discovery. A subpoena may command:                                 (e) Duties in Responding to a Subpoena.
   (A) production of documents, electronically stored information, or
tangible things at a place within 100 miles of where the person resides,         (1) Producing Documents or Electronically Stored Information. These
is employed, or regularly transacts business in person; and                      procedures apply to producing documents or electronically stored
   (B) inspection of premises at the premises to be inspected.                   information:
                                                                                    (A) Documents. A person responding to a subpoena to produce documents
(d) Protecting a Person Subject to a Subpoena; Enforcement.                      must produce them as they are kept in the ordinary course of business or must
                                                                                 organize and label them to correspond to the categories in the demand.
(1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney                (B) Form for Producing Electronically Stored Information Not Specified.
responsible for issuing and serving a subpoena must take reasonable steps        If a subpoena does not specify a form for producing electronically stored
to avoid imposing undue burden or expense on a person subject to the             information, the person responding must produce it in a form or forms in
subpoena. The court for the district where compliance is required must           which it is ordinarily maintained or in a reasonably usable form or forms.
enforce this duty and impose an appropriate sanction—which may                      (C) Electronically Stored Information Produced in Only One Form.
include lost earnings and reasonable attorney’s fees—on a party or               The person responding need not produce the same electronically stored
attorney who fails to comply.                                                    information in more than one form.
                                                                                    (D) Inaccessible Electronically Stored Information. The person
(2) Command to Produce Materials or Permit Inspection.                           responding need not provide discovery of electronically stored information
  (A) Appearance Not Required. A person commanded to produce                     from sources that the person identifies as not reasonably accessible because
documents, electronically stored information, or tangible things, or to          of undue burden or cost. On motion to compel discovery or for a protective
permit the inspection of premises, need not appear in person at the place        order, the person responding must show that the information is not
of production or inspection unless also commanded to appear for a                reasonably accessible because of undue burden or cost. If that showing is
deposition, hearing, or trial.                                                   made, the court may nonetheless order discovery from such sources if the
  (B) Objections. A person commanded to produce documents or tangible            requesting party shows good cause, considering the limitations of Rule
things or to permit inspection may serve on the party or attorney designated     26(b)(2)(C). The court may specify conditions for the discovery.
in the subpoena a written objection to inspecting, copying, testing, or
sampling any or all of the materials or to inspecting the premises—or to         (2) Claiming Privilege or Protection.
producing electronically stored information in the form or forms requested.      (A) Information Withheld. A person withholding subpoenaed information
The objection must be served before the earlier of the time specified for        under a claim that it is privileged or subject to protection as trial-
compliance or 14 days after the subpoena is served. If an objection is made,     preparation material must:
the following rules apply:                                                           (i) expressly make the claim; and
     (i) At any time, on notice to the commanded person, the serving                 (ii) describe the nature of the withheld documents, communications, or
party may move the court for the district where compliance is required           tangible things in a manner that, without revealing information itself
for an order compelling production or inspection.                                privileged or protected, will enable the parties to assess the claim.
     (ii) These acts may be required only as directed in the order, and the      (B) Information Produced. If information produced in response to a
order must protect a person who is neither a party nor a party’s officer         subpoena is subject to a claim of privilege or of protection as trial-
from significant expense resulting from compliance.                              preparation material, the person making the claim may notify any party that
                                                                                 received the information of the claim and the basis for it. After being
(3) Quashing or Modifying a Subpoena.                                            notified, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where          information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                     until the claim is resolved; must take reasonable steps to retrieve the
    (i) fails to allow a reasonable time to comply;                              information if the party disclosed it before being notified; and may
    (ii) requires a person to comply beyond the geographical                     promptly present the information under seal to the court for the district
limits specified in Rule 45(c);                                                  where compliance is required for a determination of the claim. The person
    (iii) requires disclosure of privileged or other protected matter, if no     who produced the information must preserve the information until the
exception or waiver applies; or                                                  claim is resolved.
    (iv) subjects a person to undue burden.
  (B) When Permitted. To protect a person subject to or affected by a            (g) Contempt.
subpoena, the court for the district where compliance is required may,           The court for the district where compliance is required—and also, after
on motion, quash or modify the subpoena if it requires:                          a motion is transferred, the issuing court—may hold in contempt a
      (i) disclosing a trade secret or other confidential research,              person who, having been served, fails without adequate excuse to obey
development, or commercial information; or                                       the subpoena or an order related to it.




                                        For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                                  EXHIBIT A
I.           Definitions
      Unless otherwise specified, the documents specified below are required to be produced for the
      time period commencing January 1, 2002 and continuing through the present. Where
      production of account data is provided in electronic format or media the preferred software
      format to incorporate the data into is Microsoft Excel.

      As used herein, the following terms are defined as indicated:

         1. "All/Each." The term "all" and "each" shall be construed as all and each.

         2. "And/Or." The connectives "and" and "or" shall be construed either disjunctively or
            conjunctively as necessary to bring within the scope of the discovery request all
            responses that might otherwise be construed to be outside of its scope.

         3. "Communication" means the transmittal of information (in the form of facts, ideas,
            inquiries or otherwise).

         4. The terms "Document" or "Documents" are defined to be synonymous and equal in scope
            to the usage of these terms in Federal Rule of Civil Procedure 34(a), including, without
            limitation, any written, drawn, printed, typed, photographed or other graphic or
            electronically or computerized recorded data or compilations of any kind or nature
            prepared or received by, or in the possession, custody or control of the answering party,
            its agents, servants, employees or other representatives. Originals, drafts and all non-
            identical copies are separate documents within the meaning of this term.

         5. The term "identify" when used with reference to a person, means to give, to the extent
            known, the person's full name, present or last known address, and when referring to a
            natural person, additionally, the present or last known place of employment. Once a
            person has been identified in accordance with this subparagraph, only the name of that
            person need to be listed in response to subsequent discovery requesting the identification
            of that person.

         6. The term "identify" when used with reference to documents, means to give, to the extent


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        known, the (i) type of document; (ii) general subject matter; (iii) date of the document;
        and (iv) author(s), addressee(s) and recipient(s).

    7. The term "identify" when used with reference to an oral communication, discussion,
       conversation or any other oral statement, shall mean to describe in detail the substance of
       each such communication, discussion, conversation or statement, state the date of such
       communication, discussion, conversation or statement, the place where such
       communication, discussion, conversation or statement was held and identify each person
       present for such communication, discussion, conversation or statement.

    8. "Referring to", "relating to", "reflecting", "regarding" or "with respect to" mean, without
        limitation the concepts: pertain to, deal with, concern, reflect, record, report, constitute,
        contain, mention, describe, discuss, analyze, evaluate, estimate, study, survey, project,
        assess, support, modify, contradict, criticize, summarize, comment, or otherwise involve,
        in whole or in part.


    9. “You” and “Your” shall mean Elon Musk. These terms also shall be deemed to include
        all agents and other persons acting or authorized to act on his behalf.


    10. “Employee” includes, but is not limited to, all current or former salaried employees,
        hourly employees, independent contractors, and individuals performing work as
        temporary employees, for the entity referred to in the request.


    11. “Epstein” shall mean Jeffrey E. Epstein, as well as all agents and other persons acting or
        authorized to act on his behalf, including but not limited to Darren K. Indyke, Richard D.
        Kahn, Bella Klein, Lesley Groff, and Daphne Wallace.


    12. “JPMorgan” shall mean the Defendant, JPMorgan Chase Bank, N.A., its officers,
        directors, employees, partners, representatives, agents, corporate parent, subsidiaries,
        affiliates, divisions, predecessors or successors-in-interest, or any other person operating
        in any representative capacity on its behalf.


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II.       Instructions
      1. When providing Your responses, indicate the Request to which each Document or answer
          responds in the metadata field, RequestNo.


      2. Documents produced pursuant to these Requests shall be produced as they are kept in the
          ordinary course of business.


      3. For each Document that You produce, produce the current version together with all earlier
          editions or predecessor Documents during the relevant time period, even though the title
          of earlier Documents may differ from current versions. Format for Documents produced
          electronically:
                   a.       Data shall be produced in single page TIFFs at a 300 DPI resolution which
                            are named for the Bates Number of the page. There shall be no more than
                            1000 images per folder. Bates numbers, confidentiality designations, and
                            redactions shall be burned into the TIFF image file so as not to unreasonably
                            obstruct any information on the page.
                   b.       Document Unitization. Each page of a Document shall be electronically
                            converted into an image as described above. If a Document is more than
                            one page, the unitization of the Document and any attachments and/or
                            affixed notes shall be maintained as it existed in the original when creating
                            the image file and appropriately designated in the load files. The
                            corresponding parent/attachment relationships, to the extent possible, shall
                            be provided in the load files furnished with each production.
                   c.       Include Document level text files containing optical character recognition
                            (“OCR”) or extracted text named with the Bates Number of the first page
                            of the Document.
                   d.       Include data load files containing all of the metadata fields (both system and
                            application – see list below) from the original Native Documents with
                            extension.dat for Concordance.
                   e.       Include the database field name in the first line of the metadata file, in such
                            a manner that it is clear how the metadata is organized in the file.
                   f.       Include an image loadfile for Concordance – such as .opt.
                   g.       All hidden text (e.g., track changes, hidden columns, comments, notes, etc.)
                            shall be expanded, extracted, and rendered in the .TIFF file.

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                 h.       Documents created in Excel (spreadsheets), .CSV files, Access (databases),
                          and audio and video media files shall be produced in Native format. The
                          extractable metadata and text shall be produced in the same manner as other
                          Documents that originated in electronic form (as described herein) to the
                          extent that metadata exists or is reasonably accessible.
                 i.       Email attachments and embedded files or links shall be mapped to their
                          parent.
                 j.       Produce all attachments to responsive Documents attached to the responsive
                          Documents.
                 k.       De-duplicate prior to production. To the extent that exact duplicate
                          Documents (based on MD5 or SHA-1 hash values at the Document level)
                          reside within a party’s data set, each party is only required to produce a
                          single copy of a responsive Document, so long as there is a data field that
                          identifies each custodian who had a copy. In addition, Documents may be
                          de-duplicated in such a way as to eliminate earlier or incomplete chains of
                          emails, and produce only the most complete iteration of an email chain so
                          long as there is a data field that identifies each custodian who had a copy.

REQUIRED METADATA FIELDS:


 BEGDOC                                                ENDDOC

 BEGATTACH                                             ENDATTACH

 ATTCOUNT                                              ATTACH

 CUSTODIAN                                             AUTHOR

 FROM                                                  TO

 CC                                                    BCC

 FILESIZE                                              PGCOUNT

 DATERECD                                              TIMERECD

 DATESENT                                              TIMESENT



                                                        4
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 CRTDATE                                               CRTTIME

 LASTMODDATE                                           LASTMODTIME

 LASTACCDATE                                           LASTACCTIME

 TITLE                                                 SUBJECT

 EMAILSUBJECT                                          FILENAME

 FILEEXT                                               MD5HASH

 ORGANIZATION                                          FULLPATH

 RECORD_TYPE                                           VERSION

 VOLUME                                                COMMENT

 PRINTEDDATE                                           ENTRYID

 ATTLST                                                ITEMTYPE

 PSTINSIDEPATH                                         ITEMCREATIONTIME

 REQATTANDEES                                          REMINDERTIME

 REPLYTIME                                             APPOINTMENTSTARTDATE

 APPOINTMENTDURATIONTIME                               APPOINTMENTCONTACT

 CATEGORY                                              KEYWORDS

 MANAGER                                               LASTAUTHOR

 ENCRYPTED                                             FAMILYDATE

 NATIVELINK                                            TEXTPATH

 REQUESTNO



    4. Format for hard copies of Documents produced in response to this Request:
                 a.       Re-type the question or request to which the Documents respond and firmly

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                          attach the Documents to the re-typed request;
                 b.       Number all Documents consecutively, consistently with the numbers used
                          for the Documents produced electronically.

    5. Unless otherwise indicated, the relevant time period for this Request for Production of
        Documents is January 1, 2002 to the present.


    6. If no Documents responsive to a particular request exist, so state.


    7. As to any Document which no longer exists but which You are aware existed at one time,
        identify such Document with as much particularity as possible, and in addition, identify
        the last known location of the Document, the reason the Document is no longer in
        existence, and the person responsible for the Document’s disposition.


    8. For information that You withhold on the basis of privilege, provide a descriptive list of
        each Document stating the grounds for Your refusal and providing the following
        information: the name or title of the Document; a description of the nature and subject
        matter of the Document sufficient to enable a meaningful challenge to the assertion of
        privilege; the date, author(s), sender(s), and recipient(s) of the Document; and the nature
        of the privilege.


    9. These requests shall be deemed continuing in character so as to require prompt
        supplemental responses if additional Documents called for herein are obtained, discovered,
        or become known to You between the time of responding to the Requests and the final
        disposition of this action.


    10. Social Security numbers may be redacted from documents to the extent required by
        applicable law.




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III.       Requests for the Production of Documents

         1. All Documents reflecting or regarding Communications between You and JPMorgan

   regarding Epstein or Epstein’s role with respect to Your accounts, transactions, or financial

   management.

         2. All Documents reflecting or regarding Communications between You and Epstein

   regarding JPMorgan and/or Your accounts, transactions, or relationship at JPMorgan.

         3. All Documents concerning Communications or meetings between You, Epstein, and/or

   JPMorgan regarding Your accounts, transactions, or relationship at JPMorgan.

         4. All Documents reflecting or regarding fees You paid to Epstein and/or JPMorgan in

   connection with Your accounts, transactions, or relationship at JPMorgan.

         5. All Documents reflecting or regarding Epstein’s involvement in human trafficking and/or

   his procurement of girls or women for commercial sex.




                                                           7
